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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

                                   CIVIL ACTION NO. 3:05-CV-1805-L
                                               (ECF)
KEELY DAVIS,
                   Plaintiff,
vs.


WAL-MART STORES, INC.,
            Defendant.
__________________________________/

            _______________________________________________________________

                  DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
            _______________________________________________________________

         Defendant, Wal-Mart Stores, Inc., pursuant to Federal Rule of Civil Procedure 56 and
Local Rule 56.3, respectfully requests entry of final summary judgment in its favor on all of the
claims asserted by Plaintiff. The grounds for Defendant’s motion are set forth in the Defendant’s
Brief in Support of Motion for Summary Judgment, filed simultaneously herewith.               In
accordance with Local Rule 56.3(b), the matters required by Local Rule 56.3(a) are contained in
Defendant’s brief.
                                                     Respectfully submitted,
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                                    CERTIFICATE OF SERVICE

         I certify that, on this 4th day of August, 2006, I electronically filed the foregoing with the
Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to
the CM/ECF participants identified below. I further certify that I mailed the foregoing document
and the notice of electronic filing by first-class mail to any non-CM/ECF participants identified
at the time of electronic filing.
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                                                        /s/ Gaye L. Huxoll
                                                        Gaye L. Huxoll




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